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 9
     Attorneys for Plaintiff Jimmy Ellison
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11

12                        UNITED STATES DISTRICT COURT
13    NORTHERN DISTRICT OF CALIFORNIA—SAN FRANCISCO DIVISION
14

15   In Re: AutoZone, Inc., Wage and             Case No.: 3:10-md-02159-CRB
     Hour Employment Practices
16   Litigation                                  Hon. Charles R. Breyer
17
                                                 PLAINTIFF’S NOTICE OF
18                                               ACCEPTANCE OF RULE 68
                                                 OFFER OF JUDGMENT
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                    PLAINTIFF’S NOTICE OF ACCEPTANCE OF RULE 68 OFFER OF JUDGMENT
                                                                                    3:10-md-02159-CRB
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 1   TO THE COURT, ALL PARTIES AND TO THEIR COUNSEL OF
 2   RECORD:
 3         Pursuant to Federal Rule of Civil Procedure 68(a), Plaintiff Jimmy Ellison
 4   hereby accepts Defendant AutoZone, Inc.’s Rule 68 Offer to Compromise dated
 5   November 6, 2017, a true and correct of which is attached hereto as Exhibit A,
 6   according to the terms specified therein.
 7

 8

 9
     Dated: November 13, 2017                   Respectfully submitted,
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                                                Capstone Law APC
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12
                                            By: s/ Matthew Theriault
13                                              Matthew T. Theriault
14                                              Lead Counsel for Plaintiff Jimmy
                                                Ellison
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                    PLAINTIFF’S NOTICE OF ACCEPTANCE OF RULE 68 OFFER OF JUDGMENT
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  EXHIBIT A
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 1                                 PROOF OF SERVICE
 2   UNITED STATES DISTRICT COURT                             )
 3
                                                              )                      ss
     NORTHERN DISTRICT OF CALIFORNIA—                         )
 4

 5
     SAN FRANCISCO DIVISION

 6         I am employed in the State of California, County of Los Angeles. I am over
     the age of 18 and not a party to the within suit; my business address is 1875
 7   Century Park East, Suite 1000, Los Angeles, California 90067. My email address
     is Dana.Joudi@capstonelawyers.com.
 8
            On November 13, 2017 I served the document(s) described as:
 9   PLAINTIFF’S NOTICE OF ACCEPTANCE OF RULE 68 OFFER OF
     JUDGMENT on the interested parties in this action by sending [ ] the original
10   [] a true copy thereof [] to interested parties as follows [or] [ ] as stated on
     the attached service list:
11

12   MICHAEL E. BREWER, Bar No. 177912
     GREGORY G. ISKANDER, BarNo. 200215
13   JEFFREY J. MANN, Bar No. 253440
     LITTLER MENDELSON, P.C.
14   Treat Towers
     1255 Treat Boulevard, Suite 600
15   Walnut Creek, California 94597
     Telephone: 925.932.2468
16   mbrewer@littler.com
     giskander@littler.com
17   jmann@littler.com

18   Attorneys for Defendant AutoZone, Inc.

19

20   (X) BY U.S. MAIL (ENCLOSED IN A SEALED ENVELOPE): I deposited
         the envelope(s) for mailing in the ordinary course of business at Los
21       Angeles, California. I am “readily familiar” with this firm’s practice of
22       collection and processing correspondence for mailing. Under that practice,
         sealed envelopes are deposited with the U.S. Postal Service that same day in
23       the ordinary course of business with postage thereon fully prepaid at Los
24       Angeles, California.

25   ( )   BY FAX TRANSMISSION: At or before 5:00 pm, I caused said
26         document(s) to be transmitted by facsimile. The name(s) and facsimile
           machine telephone number(s) of the person(s) served are set forth in the
27         service list. The document was transmitted by facsimile transmission, and
28

                                               Page 2
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 1         the sending facsimile machine properly issued a transmission report
 2
           confirming that the transmission was complete and without error.

 3   ( )   BY PERSONAL SERVICE: I caused delivery of the document(s),
 4
           enclosed in a sealed envelope, by hand via ProLegal Network to the offices
           of the addressee(s) named herein.
 5

 6
     ( )   BY CM/ECF SYSTEM: I caused the above-referenced document(s) to be
           sent by electronic transmittal to the Clerk’s Office using the CM/ECF
 7         System for filing which generated a Notice of Electronic Filing to the
 8
           CM/ECF registrants in the case.

 9   ( )   BY FEDEX STANDARD OVERNIGHT DELIVERY: I am “readily
10
           familiar” with this firm’s practice of collection and processing
           correspondence for overnight delivery. Under that practice, overnight
11         packages are enclosed in a sealed envelope with a packing slip attached
12
           thereto fully prepaid. The packages are picked up by the carrier at our
           offices or delivered by our office to a designated collection site.
13

14
     ( )   BY E-MAIL: I hereby certify that this document was served from Los
           Angeles, California, by e-mail delivery on the parties listed herein at their
15         most recent known e-mail address or e-mail of record in this action.
16
     (X)   (FEDERAL) I declare that I am employed in the office of a member of the
17         bar of this court at whose direction the service was made.
18
           Executed on November 13, 2017, at Los Angeles, California.
19

20
     Dana Joudi
     Type or Print Name                                 Signature
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                    PLAINTIFF’S NOTICE OF ACCEPTANCE OF RULE 68 OFFER OF JUDGMENT
                                                                                    3:10-md-02159-CRB
